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            EXHIBIT A
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    IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT, IN AND FOR
                      MIAMI-DADE COUNTY, FLORIDA
    ALFREDO CARDENAS,                              )    Case No.: 2023-012179-CA-01
          Plaintiff                                )    Section No. CA30
    vs.                                            )
    7-ELEVEN INC et al,                            )
          Defendants                               )
    _________________________________              )
       DEFENDANT RDY STORE INC’S RESPONSE TO PLAINTIFF’S FIRST SET OF
                            INTERROGATORIES

             DEFENDANT RDY STORE INC, by and through undersigned counsel, files this

   response to Plaintiff’s first set of interrogatories, as follows.

                           RESPONSES TO REQUEST FOR ADMISSIONS

             1. What is the name and address of the person answering these interrogatories, the

   person’s official position or relationship with the party to whom the interrogatories are directed,

   and the length of time working with the Defendant?

             RESPONSE: Haroon Khan, President, since inception.

             2. Is the defendant correctly identified in the case caption? If not, please provide the

   correct legal name and address of the defendant.

             RESPONSE: Yes.

             3. Describe any and all policies of insurance, including excess and umbrella policies,

   which you contend cover or may cover you for the allegations set forth in plaintiff's complaint,

   detailing as to such policies the name of the insurer, the number of the policy, the effective dates

   of the policy, the available limits of liability, and the name and address of the custodian of the

   policy.

             .


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          RESPONSE: There are no insurance policies that cover the allegations of the complaint

          4. State the full name and address of each person who investigated the cause and

   circumstances of the subject incident as described in the operative complaint.

          RESPONSE: None.

          5. If a report regarding the subject incident was made by an agent, employee or servant of

   Defendant, please state the full name and address of the person who made the report, the date it

   was sent, and the entity or individual who has custody of the report.

          RESPONSE: None.

          6. State the facts upon which you rely for each affirmative defense in your answer..

          RESPONSE: No answer was filed.

          7. Do you contend any person or entity other than you is, or may be, liable in whole or

   part for the claims asserted against you in this lawsuit? If so, state the full name and address of

   each such person or entity, the legal basis for your contention, the facts or evidence upon which

   your contention is based, and whether or not you have notified each such person or entity of your

   contention.

          RESPONSE: Darryl White, 1181 NW 57th St, Miami, FL 33127 was the person against

   whom any claims shall be brought, he was not notified by RDY.

          8. List the names, addresses and phone numbers of all persons who are believed or

   known by you, your agents, or your attorneys to have any knowledge concerning any of the

   issues in this lawsuit; and specify the subject matter about which the witness has knowledge.

          .




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           RESPONSE: Harron Khan, ℅ counsel, knowledge about business. Darryl White, 1181

   NW 57th St, Miami, FL 33127, knowledge about the incident.

           9. Have you heard or do you know about any statement or remark made by or on behalf

   of any party to this lawsuit, other than yourself, concerning any issue in this lawsuit? If so, state

   the name and address of each person who made the statement or statements, the name and

   address of each person who heard it, and the date, time, place, and substance of each statement.

           RESPONSE: No.

           10. State the name and address of every person known to you, your agents, or your

   attorneys who has knowledge about, or possession, custody, or control of, any model, plat, map,

   drawing, audio recording, visual recording, audiovisual recording, or photograph pertaining to

   any fact or issue involved in this controversy; and describe as to each, what item such person

   has, the name and address of the person who took or prepared it, and the date it was taken or

   prepared.

           RESPONSE: None.

           11. If you contend that Defendant did not own, maintain, or control the area where the

   subject incident occurred as described in the operative complaint, then please list the full name,

   address, and phone number of the person/persons or entity/entities that owned, maintained, or

   controlled the area where the subject incident occurred at the time of the incident.

           RESPONSE: None.

           12. Have you made an agreement with anyone that would limit that party’s liability to

   anyone for any of the damages sued upon in this case? If so, state the terms of the agreement and

   the parties to it.



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          RESPONSE: No.

          13. Please state if you have ever been a party, either plaintiff or defendant, in a lawsuit

   other than the present matter, and, if so, state whether you were plaintiff or defendant, the nature

   of the action, and the date and court in which such suit was filed.

          RESPONSE: Objection based on relevance.

          14. Within the three (3) years preceding the Incident, please state if there has ever been an

   incident involving an employee physically touching a customer or another employee without the

   consent of the customer or employee, including but not limited to pushing or hitting, within the

   Store, and whether any of those incidents resulted in a lawsuit being filed.

          RESPONSE: None.

          15. Please state the name, address, and job title of all employees or agents of Defendant

   who were either on, or were supposed to be on, duty at the subject store on the date of the subject

   incident, including but not limited to all store managers, cashiers, salespersons, loss prevention

   and cleaning personnel.

          RESPONSE: Darryl White, cashier.

          16. State whether you have within your possession or control photographs or videos of

   the subject incident, including surveillance videos. If so, describe any and all such photographs

   or videos and state who took them and who has possession of them.

          RESPONSE: None.




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           17. Describe RDY’s hiring procedure in place at the time of the Incident, including any

   paperwork prospective employees must complete, background investigations performed,

   employment materials provided, and training employees undergo upon hiring.

           RESPONSE: RDY follows standard industry practices in hiring its employees, including

   but not limited to, running a background check.

           18. Describe RDY’s policies and procedures in place at the time of the Incident regarding

   employee interaction with customers at the Store and/or regarding maintaining customer safety.

           RESPONSE: RDY follows standard industry practices regarding customer interaction

   and safety.

                                           CERTIFICATION

   Under penalties of perjury, I declare that I have read the foregoing interrogatory responses and

   that the facts stated in it are true.


   /s/Haroon Khan_______________

   Haroon Khan, President of RDY Store Inc


                                       CERTIFICATE OF SERVICE


           I certify that this notice was served via email on January 19, 2024 upon counsel for

   Plaintiff.

           Respectfully submitted,


                                           Shlomo Y. Hecht, P.A.
                                           3076 N Commerce Pkwy
                                           Miramar, FL 33025
                                           Phone: 954-861-0025


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                                By: /s/ Shlomo Y Hecht
                                Florida State Bar No.: 127144
                                Email: sam@hechtlawpa.com
                                Attorney for Defendant RDY Store Inc




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